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                         UNITED STATES DISTRICT COURT
16
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
18
19
      JENNY LISETTE FLORES; et al.,            Case No. CV 85-4544-DMG

20            Plaintiffs,
21                                             DEFENDANTS’ RESPONSE TO
                   v.                          PLAINTIFFS’ REPORT ON
22
                                               PARTIES’ CONFERENCE RE
23     WILLIAM P. BARR, Attorney               “TITLE 42” CLASS MEMBERS
       General of the United States; et al.,
24
25           Defendants.
26
27
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 1
              On July 25, 2020, the Court issued an order that directed the parties to “meet
 2
       and confer regarding the issues with ‘hoteling’ raised in the Monitor’s Interim
 3
       Report on the Use of Temporary Housing for Minors and Families Under Title 42
 4
       [Doc. # 873] and provide a status update on their efforts to resolve those issues at
 5
       the August 7, 2020 hearing in this matter.” Order re Defendants’ Ex Parte
 6
       Application to Stay at 3, ECF No. 887, July 25, 2020. The parties met and conferred
 7
       on this topic on July 27, 2020. Despite the Court’s directive for the parties to
 8
       provide a status report at this week’s hearing, on July 29, 2020, Plaintiffs
 9
       unilaterally filed what purports to be a “Report” regarding the parties’ meet-and-
10
       confer efforts, in which Plaintiffs asked the Court to find Defendants in breach of
11
       the Flores Settlement Agreement (“Agreement”) and issue an order enforcing the
12
       Agreement against Defendants. Report, ECF No. 897 at 5-6. Plaintiffs’ “Report” is
13
       procedurally improper and inaccurate. Defendants file this response to clarify their
14
15
       position on the procedural status of this issue and to correct Plaintiffs’ misstatement

16
       of Defendants’ legal position regarding the Agreement and the government’s Title

17     42 processes.

18       I.   Plaintiffs’ “Report” Is Procedurally Improper.

19            Plaintiffs’ “Report” not only disregards the Court’s directive that the parties
20     report on their meet and confer efforts at the August 7, 2020, status conference, it
21     also appears to be a procedurally improper request for an order enforcing the
22     Agreement against Defendants. See Report, ECF No. 897 at 5-6. If Plaintiffs wish
23     to ask the Court to issue any order or to enforce the Agreement against Defendants,
24     Plaintiffs should be required to file a properly noticed motion in accordance with
25     Federal Rule of Civil Procedure 7 and the applicable Local Rules. Plaintiffs’
26     counsel disclaimed any intention to file a motion when the parties met and
27     conferred, and Plaintiffs complied with none of the notice requirements that would
28


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 1
       apply to a motion seeking relief from the Court when they unilaterally filed their
 2
       “Report.” Accordingly, to the extent that the “Report” alleges that Defendants are
 3
       in violation of the Agreement and seeks relief in the form of an order from this
 4
       Court, the Court should disregard Plaintiffs’ “Report” and require that Plaintiffs
 5
       file any such requests for relief in accordance with the applicable federal and local
 6
       rules.
 7
                Defendants recognize that, over Defendants’ objections, the Court’s July 25,
 8
       2020 Order, ECF No. 887, stated that “[m]onitoring of the possible hoteling issue
 9
       arises under [the Court’s April 24, 2020 Order], as well as the language of the June
10
       26, 2020 Order authorizing the Independent Monitor and Dr. Wise to ‘make such
11
       recommendations for remedial action that they deem appropriate.’” ECF No. 887
12
       at 3. Thus, Defendants are cooperating with Ms. Ordin and Dr. Wise to the extent
13
       they are continuing to monitor this issue. Moreover, as requested by the Court, to
14
15
       the extent that Defendants have further objections to the Monitor’s Interim Report

16
       or to this portion of the Court’s order, Defendants will identify those objections at

17     the August 7, 2020 status conference. Id.; see also Monitoring Order, ECF No. 494,

18     at 20 (adopting the procedures and time limits set forth in Federal Rule of Civil

19     Procedure 53(f) for seeking review of any finding or recommendation of the
20     Monitor).
21              That said, even if the Monitor may properly continue to conduct monitoring
22     activities at this time based on the Court’s July 27, 2020 Order, no action can be
23     taken by the Court unless and until—at a minimum—Defendants are given notice
24     of what portions of the Agreement they are alleged to have breached, and an
25     opportunity to be heard on the legal and factual issues related to any such
26     allegations. See Monitoring Order, ECF No. 494 at 20; Fed. R. Civ. Proc. 7 and
27     53(f); Flores Agreement ¶ 37. Until Defendants are given notice of what issues the
28


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 1
       Court intends to address, and a full and fair opportunity to brief the legal and factual
 2
       issues raised by the Monitor and by Plaintiffs, further action by the Court on this
 3
       issue would be improper. Such an opportunity would need to include, at a
 4
       minimum, the opportunity to more fully brief two issues, namely: (1) whether the
 5
       Agreement applies to the custody at issue here which is under the legal authority
 6
       of the Centers for Disease Control and Prevention (“CDC”), and (2) even if the
 7
       Agreement does apply, whether a brief period of custody in a non-congregate hotel
 8
       setting following arrest and while exclusion under Title 42 order is being carried
 9
       out complies with the Agreement.
10
           II.   Plaintiffs Misstate Defendants’ Legal Position
11
                 Because Plaintiffs took it upon themselves to unilaterally report on the
12
       parties’ discussions, they have inadequately presented Defendants’ legal position
13
       to the Court. As noted above, Defendants believe that no further action should be
14
15
       taken until they receive notice and a full and fair opportunity to be heard on the

16
       legal and factual issues surrounding this matter, but out of an abundance of caution,

17     Defendants wish to correct Plaintiffs’ incorrect explanation of their legal position

18     for the record.

19               Specifically, the Agreement does not apply to the government’s
20     implementation of the CDC’s Title 42 orders.1 See Order Suspending Introduction
21     of Certain Persons from Countries Where a Communicable Disease Exists, 85 Fed.
22     Reg. 17060 (Mar. 26, 2020); Extension of Order Suspending Introduction of
23
24
25     1
         Even if the Agreement does apply, a brief period of custody in a non-congregate
26     hotel setting following arrest with access to beds, showers, medical screening, food
       and water, and sanitary conditions, while expulsion under the CDC’s Title 42 order
27
       is being carried out as expeditiously as possible, does not violate the terms of the
28     Agreement.

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 1
       Certain Persons from Countries Where a Communicable Disease Exists, 85 Fed.
 2
       Reg. 22424 (April 22, 2020); Amendment and Extension of Order Suspending
 3
       Introduction of Certain Persons from Countries Where a Communicable Disease
 4
       Exists, 85 Fed. Reg. 31503 (May 26, 2020). These public health orders are based
 5
       on the CDC’s continued determination that “there remains a serious risk to the
 6
       public health that COVID-19 will continue to spread to unaffected communities
 7
       within the United States, or further burden already affected areas. At this critical
 8
       juncture, it would be counterproductive to undermine ongoing public health efforts
 9
       by relaxing restrictions on the introduction of covered aliens who pose a risk of
10
       further introducing COVID-19 into the United States.” 85 Fed. Reg. at 31505.
11
       Likewise, the CDC has determined that the processes instituted under these orders
12
       have “significantly mitigated the specific public health risk identified in the initial
13
       Order . . . .” Id. The Agreement does not apply to the processes implemented under
14
15
       these orders because the Agreement applies to minors in the “legal custody of the

16
       INS,” Agreement ¶ 10, and that term did not encompass or anticipate custody

17     incident to these present-day orders detailing processes to be carried out pursuant

18     to Title 42. Moreover, minors who are expelled under the existing Title 42

19     processes are not in the “legal custody” of any legal successor to any party to the
20     Agreement.
21           As the Court has recognized, “[t]he Flores Agreement is a binding contract
22     and a consent decree. . . . It is a creature of the parties’ own contractual agreements
23     and is analyzed as a contract for purposes of enforcement.” Flores v. Barr, 407 F.
24     Supp. 3d 909, 931 (C.D. Cal. 2019); see also City of Las Vegas v. Clark County,
25     755 F.2d 697, 702 (9th Cir. 1985) (“A consent decree, which has attributes of a
26     contract and a judicial act, is construed with reference to ordinary contract
27     principles.”). Like a contract, a consent decree “must be discerned within its four
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 1
       corners, extrinsic evidence being relevant only to resolve ambiguity in the decree.”
 2
       United States v. Asarco, Inc., 430 F.3d 972, 980 (9th Cir. 2005); see also United
 3
       States v. Armour & Co., 402 U.S. 673, 681 (1971) (“[T]he scope of a consent decree
 4
       must be discerned within its four corners, and not by reference to what might satisfy
 5
       the purposes of one of the parties to it.”). The Agreement “should be read to give
 6
       effect to all of its provisions and to render them consistent with each other.”
 7
       Mastrobuono v. Shearson Lehman Hutton, Inc., 514 U.S. 52, 63 (1995).
 8
             By its plain terms, the Agreement applies only to those minors in “the legal
 9
       custody of the INS.” Agreement ¶¶ 4, 10. The Agreement does not explicitly define
10
       “legal custody,” but the Agreement does recognize a critical distinction between
11
       legal custody and physical custody. The Agreement provides for the INS in some
12
       instances to place a minor in the physical custody of a licensed program, but the
13
       Agreement specifies that the minor remains in the legal custody of the INS.
14
15
       Agreement ¶ 19; see also Gao v. Jenifer, 185 F.3d 548, 551 (6th Cir. 1999)

16
       (explaining that the INS’s contracts with these third-party programs explicitly state

17     that the INS retains legal custody while the programs have physical custody).

18     While a minor is in the physical custody of a licensed program, the INS retains the

19     sole authority to transfer and release the minor (except that the licensed program
20     can transfer physical custody in emergencies). Agreement ¶ 19. Thus, Paragraph
21     19 makes clear the parties’ agreement that the “legal custody of the INS” means
22     custody at the direction of the INS, where the INS retains the authority to authorize
23     continued detention or release of the minor. Id. 2
24
25
       2
26       When the Agreement was signed in 1997, the existence of a distinction between
       legal custody and physical custody was clearly understood in California. See, e.g.,
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28


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 1
             The original class certified in the Flores litigation included only individuals
 2
       under the age of eighteen who “are, or will be arrested and detained pursuant to 8
 3
       U.S.C. § 1252.” ECF No. 142-1. In 1986, when the class was certified, 8 U.S.C. §
 4
       1252 governed discretionary detention during removal proceedings. At the time the
 5
       Agreement was signed in 1997, the INS’s legal authority to detain minors remained
 6
       within Title 8. See 8 U.S.C. §§ 1225, 1252 (1997); see also Reno v. Flores, 507
 7
       U.S. 292, 294-95 n.1 (1993). Such detention was incident to immigration
 8
       deportation and exclusion proceedings, the authority for which was also detailed in
 9
       Title 8. See 8 U.S.C. §§ 1225, 1226, 1231, 1252(b) (1997). The authority for
10
       immigration proceedings, as well as the authority to hold minors in immigration
11
       custody, is still found in Title 8 today. See 8 U.S.C. §§ 1225, 1226, 1231, 1232.
12
       The successors of the INS who carry out these immigration functions today are
13
       U.S. Customs and Border Protection (“CBP”), U.S. Immigration and Customs
14
15
       Enforcement (“ICE”), and U.S. Citizenship and Immigration Services, all of which

16
       are part of the Department of Homeland Security (“DHS”), as well as the Office of

17     Refugee Resettlement (“ORR”) in the Department of Health and Human Services

18     (“HHS”) with respect to unaccompanied alien children. See Homeland Security

19     Act of 2002 §§ 402, 462, 1512, Pub. L. No. 107-296, 116 Stat. 2135 (codified at 6
20     U.S.C. §§ 202, 279, 552); TVPRA, 8 U.S.C. § 1232.
21
22
23
       In re Jennifer R., 17 Cal. Rptr. 2d 759, 763 (Ct. App. 1993) (noting in family law
24
       that legal custody of a child was distinct from physical custody because legal
25     custody was the power to make major decisions affecting the life of the child);
26
       People v. Romo, 64 Cal. Rptr. 151, 155 (Ct. App. 1967) (discussing how one
       facility had physical custody of persons who were in the legal custody of another
27     agency).
28


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 1
             The CDC, though part of HHS, is not a successor to the INS with respect to
 2
       the detention addressed in the Agreement or the detention under Title 8 authorities
 3
       that was the subject of this case. Instead, the custody at issue here is incident to the
 4
       government’s implementation of public health orders issued by the CDC under its
 5
       authority in 42 U.S.C. § 265, and is in no way related to Title 8 or to immigration
 6
       enforcement authorities. Enacted in 1944, Section 265 provides the Surgeon
 7
       General with “the power to prohibit, in whole or in part, the introduction of persons
 8
       and property from such countries or places as he shall designate in order to avert
 9
       such danger, and for such period of time as he may deem necessary for such
10
       purpose.” 42 U.S.C. § 265. Title 42 provides the legal authority to the CDC, and
11
       not DHS, for these processes, as well as for any custody of individuals incident to
12
       these processes. It should also be noted that the INS would not have had the
13
       authority to implement the CDC’s Title 42 orders, because the role of DHS in the
14
15
       Title 42 process is pursuant to 42 U.S.C. § 268, which provides that “[i]t shall be

16
       the duty of the customs officers and of Coast Guard officers to aid in the

17     enforcement of quarantine rules and regulations . . . .” Neither the Coast Guard,

18     nor any customs officers, were part of the former INS. The customs officer

19     authorities now within DHS were transferred from the Department of the Treasury
20     to DHS with the Homeland Security Act. 6 U.S.C. § 203. And DHS’s role in these
21     processes and custody incident to these processes arises from authorities provided
22     by this public health statute, and not under any immigration statute.
23           In enacting the emergency order in response to the unprecedented global
24     COVID-19 pandemic, the CDC asked DHS to implement the necessary processes
25     under the order because the CDC lacks the resources to do so:
26            I consulted with DHS before I issued this order, and requested
27
              that DHS implement this order because CDC does not have the
              capability, resources, or personnel needed to do so. As part of the
28


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 1
              consultation, CBP developed an operational plan for
 2            implementing the order. Accordingly, DHS will, where
              necessary, use repatriation flights to move covered aliens on a
 3
              space-available basis, as authorized by law. The plan is generally
 4            consistent with the language of this order directing that covered
 5            aliens spend as little time in congregate settings as practicable
              under the circumstances. In my view, it is also the only viable
 6            alternative for implementing the order; CDC’s other public
 7            health tools are not viable mechanisms given CDC resource and
              personnel constraints, the large numbers of covered aliens
 8            involved, and the likelihood that covered aliens do not have
 9            homes in the United States.
10     85 Fed. Reg. at 17067. The order makes clear that in directing DHS to implement
11
       the order, the CDC specifically required DHS to limit the amount of time
12
       individuals would spend in congregate settings, which supports DHS’s use of
13
       hotels for that purpose. 3 Thus, the order makes clear that the individuals subject to
14
       these processes are in the legal custody of HHS, and are not held pursuant to any
15
       authority vested in DHS. Under the plain terms of the Agreement, it does not apply
16
       to the custody at issue here because these minors are not in the “legal custody” of
17
       CBP and/or ICE (or any successor to INS). Rather, DHS’s only role in the process
18
       is to implement procedures that are only allowed pursuant to the CDC’s authority.
19
20
21
       3
22       In fact, DHS’s use of hotels to house minors pending their expulsion pursuant to
       the Title 42 process comports with CDC’s general guidance to detention facilities,
23
       which state that the ideal quarantine conditions are individual rooms with solid
24     walls and a closed door. See CDC, Interim Guidance on Management of
       Coronavirus Disease 2019 (COVID-19) in Correctional and Detention Facilities
25
       (updated      July      22,      2020),      https://www.cdc.gov/coronavirus/2019-
26     ncov/community/correction-detention/guidance-correctional-detention.html (“In
       order of preference, multiple quarantined individuals should be housed: IDEAL:
27
       Separately, in single cells with solid walls (i.e., not bars) and solid doors that close
28     fully.”).

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 1
              The “basic goal of contract interpretation” is to give effect to the parties’
 2
        mutual intent “at the time of contracting.” Founding Members of the Newport
 3
        Beach Country Club v. Newport Beach Country Club, Inc., 109 Cal. App. 4th 944,
 4
        955 (Cal. Ct. App. 2003) (citing Cal. Civ. Code § 1636). Importantly, Title 42 is
 5
        not an immigration provision and does not provide any authority for custody by
 6
        DHS, and its purview is not limited to aliens. Further, the Agreement makes clear
 7
        that the parties were addressing and settling specific issues related to custody by
 8
        the INS incident to immigration proceedings, under the applicable law governing
 9
        that custody. See, e.g., Agreement ¶¶ 9 (“This Agreement sets out nationwide
10
        policy for the detention, release, and treatment of minors in the custody of the
11
        INS”); 11 (“The INS shall place each detained minor in the least restrictive setting
12
        appropriate to the minor’s age and special needs, provided that such setting is
13
        consistent with its interests to ensure the minor’s timely appearance before the INS
14
15
        and the immigration courts and to protect the minor's well-being and that of

16
        others.”); 12.A (“Whenever the INS takes a minor into custody, it shall

17      expeditiously process the minor . . .”); 14 (“Where the INS determines that the

18      detention of the minor is not required either to secure his or her timely appearance

19      before the INS or the immigration court . . .”); 24.A (providing for bond hearings
20      before an immigration judge). Nothing in the Agreement suggests that the parties
21      intended it to govern—or anticipated that it would govern—any emergency
22      procedures implemented by the CDC under 42 U.S.C. § 265, or any incidental
23      custody necessary to implement these procedures.
24            There is no reasonable argument that, at the time the Agreement was signed,
25      the parties anticipated that 23 years later there would be a global pandemic, and
26      that some of the legal-successor agencies to the INS would be charged with
27      implementing emergency procedures on behalf of the Surgeon General under 42
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 1
        U.S.C. § 265 so that the Agreement would be expected to govern custody incident
 2
        to those procedures. Therefore, it cannot be presumed that, in formulating the terms
 3
        of the Agreement, the parties in any way considered that DHS’s resources would
 4
        ever be required for implementation of CDC authority. Likewise, nothing in the
 5
        Agreement can be read to anticipate the unique needs or situations that might arise
 6
        as part of any need to implement procedures under 42 U.S.C. § 265, including any
 7
        custody that might occur incident thereto—such as a quarantine and exclusion
 8
        process designed to prevent the transmission of a global pandemic. “[T]he courts
 9
        do not make contracts for the parties.” Headlands Reserve, LLC v. Ctr. For Nat.
10
        Lands Mgmt., 523 F. Supp. 2d 1113, 1123 (C.D. Cal. 2007) (citation and internal
11
        quotations omitted). The Court should not reinterpret the Agreement to govern
12
        processes, procedures, or custody which the parties never considered, and to which
13
        the parties never anticipated it would apply. At any rate, the issues raised herein
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15
        are sufficiently complex that they should be briefed in full before the Court makes

16
        any ruling on these issues.

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 1
                                    CERTIFICATE OF SERVICE
 2
 3            I hereby certify that on August 4, 2020, I served the foregoing pleading and
 4
        attachments on all counsel of record by means of the District Clerk’s CM/ECF
 5
        electronic filing system.
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